                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     at WINCHESTER

RICHARD M. TEXTOR and M. JEANNE                 )
TEXTOR,                                         )
                                                )
     Plaintiff,                                 )
                                                )
v.                                              )        Case No. 4:07-cv-44
                                                )
CURTIS WILLIAMSON, et al.,                      )        Judge Mattice
                                                )
     Defendants.                                )

                                         JUDGMENT

                  This case came before the Court on Defendants’ motions for summary

         judgment. The Honorable Harry S. Mattice, Jr., United States District Judge,

         having rendered a decision,

                  it is ORDERED and ADJUDGED:

                  that plaintiffs Richard M. Textor and Jeanne Textor take nothing and that

         the action be DISMISSED WITH PREJUDICE as to the plaintiffs’ claims under

         the Racketeer Influenced and Corrupt Organizations Act (“RICO”), 18 U.S.C. §§

         1961-1968, and be DISMISSED WITHOUT PREJUDICE as to all other of the

         plaintiffs’ claims, and that each party shall bear its own costs.

                  Dated at Chattanooga, Tennessee, this 4th day of August, 2008.


                                                    __         /s/ Patricia L. McNutt _____
                                                              PATRICIA L. McNUTT
                                                               CLERK OF COURT




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